 Fill in this information to identify the case:

 Debtor name                               Bacone College

 United States Bankruptcy Court for the:
                           Eastern District of Oklahoma

 Case number (if known):               24-80487                                                                                       ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     07/05/2024
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Josh Johns
                                                                                Signature of individual signing on behalf of debtor


                                                                                 Josh Johns
                                                                                Printed name


                                                                                 Board Member
                                                                                Position or relationship to debtor



Official Form B202Case 24-80487                   Doc 25 Filed
                                                    Declaration Under07/05/24        Entered
                                                                     Penalty of Perjury           07/05/24
                                                                                        for Non-Individual     16:14:17
                                                                                                           Debtors                    Desc Main
                                                              Document           Page 1 of 105
 Fill in this information to identify the case:

  Debtor Name       Bacone College

  United States Bankruptcy Court for the:                Eastern            District of   Oklahoma
                                                                                            (State)
  Case number (If             24-80487
  known):                                                                                                                               ❑ Check if this is an
                                                                                                                                            amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                            12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of
                                                                                                                                        debtor’s interest

 2.      Cash on hand                                                                                                                                unknown

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                       Last 4 digits of account number

         3.1. SB Operating | Sovereign Bank                        Checking account                    o    s    e    d                              unknown

         3.2. Temporarily Restricted Fund |                        Checking account                    4    3    8    7
                                                                                                                                                            $0.00
                BancFirst

         3.3. Endowment Fund | BancFirst                           Checking account                    4    4    0    9                                     $0.00

         3.4. Agency Fund | BancFirst                              Checking account                    0    7    7    1                                     $0.00

         3.5. BancFirst | Cormal Ayers Memorial                    Checking account                    5    0    1    6
                                                                                                                                                            $0.00
                Fund

         3.6. BancFirst | Golf                                     Checking account                    2    3    8    2                                     $0.00

         3.7. BancFirst | Unrestricted Funds value                 Checking account                    6    8    1    1
                                                                                                                                                    $43,964.68
                as of 5/31/2024

         3.8. BancFirst | Federal Funds                            Checking account                    7    2    3                                   unknown

         3.9. BancFirst | Payroll Account                          Checking account                    6    9    2    1                                     $0.00

         3.10. BancFirst | Federal Other Fund                      Checking account                    4    3    9    8                                     $0.00

         3.11. BancFirst | On-Line Funds                           Checking account                    6    7    4    9                                     $0.00

         3.12. BancFirst | DBA Friends of Bacone                   Checking account                    o    s    e    d
                                                                                                                                                     unknown
                Art Fund



Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                   page 1
                Case 24-80487                     Doc 25     Filed 07/05/24 Entered 07/05/24 16:14:17                              Desc Main
                                                             Document      Page 2 of 105
Debtor          Bacone College                                                                        Case number (if known) 24-80487
                Name




         3.13. Basketball-Women's | BancFirst                    Checking account                         o   s   e   d                              unknown

         3.14. Basketball-Men's | BancFirst                      Checking account                         2   4   4   8                                     $0.00

         3.15. Baseball | BancFirst                              Checking account                         4   7   0                                         $0.00

         3.16. Purchasing | BancFirst                            Checking account                         o   s   e   d                              unknown

         3.17. Recruiting-Christian Ministries |                 Checking account                         3   4   9   3
                                                                                                                                                            $0.00
                BancFirst

         3.18. First State Bank- balance as of                   Checking account                         3   5   7   8
                                                                                                                                                     $2,482.80
                5/20/24

         3.19. First State Bank                                  Checking account                         3   5   3   4                              unknown

         3.20. Softball | Bancfirst                              Checking account                         3   6   8   0                                     $0.00

         3.21. BancFirst | Federal Other Fund                    Checking account                         4   3   9   8                                     $0.00

         3.22. Development Corp Fund | Bancfirst                 Checking account                         4   4   2   0                                     $0.00

 4.      Other cash equivalents (Identify all)

         4.1    Card-Development                                                                                                                            $0.00


         4.2    PayPal                                                                                                                               unknown


         4.3    Employer Sponsored Retirement Program- Debtor is investigating                                                                       unknown


 5.      Total of Part 1
                                                                                                                                                  $46,447.48
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1    Brown Law Firm Retainer                                                                                                              $4,959.00

         7.2    Muskogee County Court Clerk CV-2023 (restricted)                                                                                    $67,584.52


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
                                                                                                                                                  $72,543.52
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:      Accounts receivable


              Case 24-80487
Official Form 206A/B                         Doc 25   Filed
                                                  Schedule A/B:07/05/24
                                                                Assets — Real Entered
                                                                              and Personal07/05/24
                                                                                           Property 16:14:17                     Desc Main                  page 2
                                                       Document           Page 3 of 105
Debtor           Bacone College                                                                           Case number (if known) 24-80487
                 Name




 10.     Does the debtor have any accounts receivable?

         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                              ➔
                                                                                                                =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:             $7,333,473.60             -             $4,682,929.00                    ➔
                                                                                                                =.....                              $2,650,543.60
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
                                                                                                                                                  $2,650,543.60
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


   Part 4:           Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                Valuation method used       Current value of
                                                                                                                for current value           debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                        page 3
                 Case 24-80487               Doc 25            Filed 07/05/24 Entered 07/05/24 16:14:17                              Desc Main
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Debtor         Bacone College                                                                      Case number (if known) 24-80487
              Name




         General description                                   Date of the last     Net book value of      Valuation method used     Current value of
                                                               physical inventory   debtor's interest      for current value         debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                        Net book value of      Valuation method used     Current value of
                                                                                    debtor's interest      for current value         debtor’s interest

                                                                                    (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                  page 4

               Case 24-80487                 Doc 25            Filed 07/05/24 Entered 07/05/24 16:14:17                        Desc Main
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Debtor         Bacone College                                                                     Case number (if known) 24-80487
              Name




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of      Valuation method used     Current value of
                                                                                   debtor's interest      for current value         debtor’s interest

                                                                                   (Where available)

 39.     Office furniture

         Misc Furniture and Equipment located throughout
         campus                                                                             unknown        Resale Value                          unknown


 40.     Office fixtures

         Misc fixtures located throughout campus                                            unknown        Resale Value                          unknown


 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

         Misc Equipment located throughout campus                                           unknown        Resale Value                          unknown




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
               Case 24-80487                 Doc 25            Filed 07/05/24 Entered 07/05/24 16:14:17                       Desc Main
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Debtor          Bacone College                                                                       Case number (if known) 24-80487
                Name




 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of    Valuation method used       Current value of
                                                                                      debtor's interest    for current value           debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1 Misc. Vehicles- Debtor is investigating                                          unknown                                              unknown

         47.2 Misc. Machinery- Debtor is investigating                                         unknown                                              unknown


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 6
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                                                               Document      Page 7 of 105
Debtor         Bacone College                                                                         Case number (if known) 24-80487
              Name




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used    Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value        debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

                                                                                                               Property Value
                                                                                                               from Insurance
                                                                                                               Policy is
                                                                                                               $11,349,160; Book
                                                                                                               Value from 2020
                                                                                                               Tax Returns
                                                                                                               (through July
                                                                                                               2021). Value used
                                                                                                               is book value due
                                                                                                               to deferred
                                                                                                               maintenance
                                                                                                               concerns and
                                                                                                               market value of
                                                                                                               buildings on one
                                                                                                               campus (inability
         55.1 College Campus- List of                          Fee Simple                  $3,775,974.00       to sell separately).             $3,775,974.00
              Buildings attached and
              Muskogee Assessor Report with
              Legal and Map 81 acres / 2299 Old
              Bacone Rd Muskogee, OK 74403-1568


         55.2 Mineral Interests- See attached                  Fee Simple                       unknown                                              unknown


 56.     Total of Part 9
                                                                                                                                              $3,775,974.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ❑ No
         ✔ Yes
         ❑



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                     page 7
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Debtor         Bacone College                                                                    Case number (if known) 24-80487
              Name




 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                      Net book value of      Valuation method used     Current value of
                                                                                  debtor's interest      for current value         debtor’s interest

                                                                                  (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations

         Debtor has list of former students                                                 unknown                                                    $0.00


 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
                                                                                                                                                   $0.00
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                               page 8
               Case 24-80487                 Doc 25            Filed 07/05/24 Entered 07/05/24 16:14:17                       Desc Main
                                                               Document      Page 9 of 105
Debtor         Bacone College                                                                          Case number (if known) 24-80487
               Name




 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                      =   ➔
                                                              Total face amount           doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                         Tax year

                                                                                                         Tax year

                                                                                                         Tax year


 73.     Interests in insurance policies or annuities

         Kinsale Insurance and Lexington Insurance- Building Insurance Policy 0100300166-0 and 017197863-00                                           unknown


 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)

         Debtor is investigating claims for theft of property and claims against parties holding property of
         Debtor.                                                                                                                                      unknown

         Nature of claim

         Amount requested                      unknown


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership

         Lawson Art Collection- On Loan to Philbrook Museum                                                                                           unknown

         Various Art, Artifacts and Books on loan to Cowboy and Western Heritage Museum                                                               unknown

         Various Art, Artifacts and Books on loan to Willard Stone Museum                                                                             unknown

         USDA (and other) Grant Applications (not yet filed)                                                                                          unknown


Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                    page 9

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Debtor           Bacone College                                                                                                      Case number (if known) 24-80487
                Name




         Disclaimer by President: I have recently been appointed as President and it has been an undertaking to
         organize the business records for presentation on the bankruptcy schedules. These are completed
         upon my best efforts and may need amendment.                                                                                                                              unknown

         Art Collection- Donor Restricted while being inventoried                                                                                                                  unknown


 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                    Current value of                          Current value
                                                                                                             personal property                         of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                 $46,447.48

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                     $72,543.52

 82.     Accounts receivable. Copy line 12, Part 3.                                                                    $2,650,543.60

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                              unknown
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            unknown


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                 $3,775,974.00


 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                               $0.00

 90.     All other assets. Copy line 78, Part 11.                                                        +                    unknown


 91.     Total. Add lines 80 through 90 for each column............................91a.                                $2,769,534.60         + 91b.        $3,775,974.00



 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $6,545,508.60




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                                                      page 10
                 Case 24-80487                          Doc 25   Filed 07/05/24 Entered 07/05/24 16:14:17                                                              Desc Main
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Case 24-80487   Doc 25   Filed 07/05/24 Entered 07/05/24 16:14:17   Desc Main
                         Document      Page 12 of 105
 Fill in this information to identify the case:

     Debtor name     Bacone College

     United States Bankruptcy Court for the:                 Eastern                 District of        Oklahoma
                                                                                                   (State)
     Case number (if known):      24-80487                                                                                                           ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         American Baptist Home Mission                       College Campus- List of Buildings attached and                           $600,000.00              $3,775,974.00
         Society                                             Muskogee Assessor Report with Legal and Map 81
                                                             acres
        Creditor’s mailing address
                                                             Describe the lien
         1075 First Avenue
                                                             Promissory Note
         King of Prussia, PA 19406
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known                   ✔ No
                                                             ❑
                                                             ❑ Yes
                                                             Is anyone else liable on this claim?
        Date debt was incurred          10/12/2022
                                                             ✔ No
                                                             ❑
        Last 4 digits of account                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        number
                                                             As of the petition filing date, the claim is:
        Do multiple creditors have an interest in            Check all that apply.
        the same property?
                                                             ✔ Contingent
                                                             ❑
        ❑ No                                                 ✔ Unliquidated
                                                             ❑
        ✔ Yes. Specify each creditor, including this
        ❑
                 creditor, and its relative priority.
                                                             ❑ Disputed
                 1) College Tournaments Hawaii,
                 LLC; 2) Phil Givens; 3) Tinker
                 Federal Credit Union; 4) Thesis
                 America, Inc.; 5) MHEC, LLC; 6)
                 American Baptist Home Mission
                 Society; 7) State of Oklahoma
                 Unemployment Employment
                 Security Commission

        Remarks: Also, this creditor asserts a right of reverter to property as original grantor.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $2,234,582.66
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 10




                Case 24-80487                     Doc 25          Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
                                                                  Document      Page 13 of 105
Debtor       Bacone College                                                                           Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.2 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      College Tournaments Hawaii, LLC                    College Campus- List of Buildings attached and                             $26,664.68       $3,775,974.00
                                                         Muskogee Assessor Report with Legal and Map 81
     Creditor’s mailing address                          acres
      190 Ke Ala Nohana Rd #22B                          Describe the lien
      Honolulu, HI 96817                                 Judgment Lien

     Creditor’s email address, if known                  Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was incurred           01/05/2024
                                                         Is anyone else liable on this claim?
     Last 4 digits of account       2    3   1       4   ✔ No
                                                         ❑
     number                                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                         As of the petition filing date, the claim is:
     the same property?
                                                         Check all that apply.
     ❑ No                                                ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
                                                         ❑ Unliquidated
                                                         ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 10




              Case 24-80487                   Doc 25          Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor       Bacone College                                                                           Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.3 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      MHEC, LLC                                          College Campus- List of Buildings attached and                         $1,395,486.71        $3,775,974.00
                                                         Muskogee Assessor Report with Legal and Map 81
     Creditor’s mailing address                          acres
      c/o E Harper, Jr                                   Describe the lien
      110 W 7th St                                       Mechanic's or Materialman's Lien

      Tulsa, OK 74119-1031                               Is the creditor an insider or related party?

     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
                                                         Is anyone else liable on this claim?
     Date debt was incurred           05/25/2023         ✔ No
                                                         ❑
     Last 4 digits of account       3    4   3       0
                                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                         As of the petition filing date, the claim is:
     Do multiple creditors have an interest in           Check all that apply.
     the same property?                                  ❑ Contingent
     ❑ No                                                ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                   ✔ Disputed
                                                         ❑
               relative priority?
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 10



              Case 24-80487                   Doc 25          Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor       Bacone College                                                                           Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.4 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      Oklahoma Tax Commission                                                                                                       $12,447.14            unknown

     Creditor’s mailing address
      2501 N Lincoln Blvd
      Oklahoma City, OK 73105-4508                       Describe the lien
                                                         Tax Warrant
     Creditor’s email address, if known
                                                         Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was incurred             4/2/2024

     Last 4 digits of account       6      7   0     4   Is anyone else liable on this claim?
     number                                              ✔ No
                                                         ❑
     Do multiple creditors have an interest in           ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     the same property?
     ✔ No
     ❑
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
     ❑ Yes. Have you already specified the
               relative priority?                        ❑ Contingent
                                                         ❑ Unliquidated
         ❑ No. Specify each creditor, including
                   this creditor, and its relative       ❑ Disputed
                   priority.



         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 10


              Case 24-80487                    Doc 25         Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor       Bacone College                                                                         Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                    Column A                  Column B
                                                                                                                     Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
 previous page.                                                                                                      of collateral.            claim

2.5 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Phil Givens                                      College Campus- List of Buildings attached and                             $90,000.00       $3,775,974.00
                                                       Muskogee Assessor Report with Legal and Map 81
     Creditor’s mailing address                        acres
      318 N F St                                       Describe the lien
      Muskogee, OK 74403                               Mechanic's or Materialman's Lien

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred           12/06/2023
                                                       Is anyone else liable on this claim?
     Last 4 digits of account                          ✔ No
                                                       ❑
     number                                            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                 ❑ Unliquidated
                                                       ✔ Disputed
               relative priority?
                                                       ❑
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 5 of 10


              Case 24-80487                   Doc 25        Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor       Bacone College                                                                           Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.6 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      State of Oklahoma Unemployment                     College Campus- List of Buildings attached and                               unknown        $3,775,974.00
      Employment Security Commission                     Muskogee Assessor Report with Legal and Map 81
                                                         acres
     Creditor’s mailing address
                                                         Describe the lien
      PO Box Box 52003                                   Tax Warrant
      Oklahoma City, OK 73152
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known                  ✔ No
                                                         ❑
                                                         ❑ Yes
                                                         Is anyone else liable on this claim?
     Date debt was incurred           07/30/2021
                                                         ✔ No
                                                         ❑
     Last 4 digits of account       7    2   3       6   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                         As of the petition filing date, the claim is:
     Do multiple creditors have an interest in           Check all that apply.
     the same property?
                                                         ❑ Contingent
     ❑ No                                                ✔ Unliquidated
                                                         ❑
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
                                                         ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1

     Remarks: amount unliquidated




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 6 of 10



              Case 24-80487                   Doc 25          Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor       Bacone College                                                                           Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.7 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      Thesis America, Inc.                               College Campus- List of Buildings attached and                             $89,383.85       $3,775,974.00
                                                         Muskogee Assessor Report with Legal and Map 81
     Creditor’s mailing address                          acres
      120 S Central Ave                                  Describe the lien
      Saint Louis, MO 63105-1705                         Judgment Lien

     Creditor’s email address, if known                  Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was incurred           07/21/2023
                                                         Is anyone else liable on this claim?
     Last 4 digits of account       3    1   8       1   ✔ No
                                                         ❑
     number                                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                         As of the petition filing date, the claim is:
     the same property?
                                                         Check all that apply.
     ❑ No                                                ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
                                                         ❑ Unliquidated
                                                         ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 7 of 10


              Case 24-80487                   Doc 25          Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor       Bacone College                                                                           Case number (if known) 24-80487
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.8 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      Tinker Federal Credit Union                        College Campus- List of Buildings attached and                             $20,600.28       $3,775,974.00
                                                         Muskogee Assessor Report with Legal and Map 81
     Creditor’s mailing address                          acres
      Po Box 45750                                       Describe the lien
      Oklahoma City, OK 73145-0000                       Judgment Lien

     Creditor’s email address, if known                  Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was incurred             9/25/2023
                                                         Is anyone else liable on this claim?
     Last 4 digits of account       9    2   6       0   ✔ No
                                                         ❑
     number                                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in
                                                         As of the petition filing date, the claim is:
     the same property?
                                                         Check all that apply.
     ❑ No                                                ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                   ❑ Unliquidated
                                                         ✔ Disputed
               relative priority?
                                                         ❑
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 8 of 10


              Case 24-80487                   Doc 25          Filed 07/05/24 Entered 07/05/24 16:14:17                                      Desc Main
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Debtor      Bacone College                                                                   Case number (if known) 24-80487
          Name




  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 Riggs, Abney, Neal, Turpen, Orbison & Le
 Po Box 470248                                                                                              Line 2. 2
 Tulsa, OK 74147-0248

 Barrow & Grimm, PC
 110 W Seventh Street, Suite 900                                                                            Line 2. 3
 Tulsa, OK 74119-0000

 Mark Craig
 321 S Boston 500
                                                                                                            Line 2. 3
 Crowe and Dunlevy
 Tulsa, OK 74103-3313

 Phil Givens
 19918 E 766 Rd                                                                                             Line 2. 5
 Tahlequah, OK 74464-0526

 Reynolds, Riding, Vogt & McCart
 Suite 1010
                                                                                                            Line 2. 7
 101 Park Avenue
 Oklahoma City, OK 73102-0000

 Williams Boren & Associates PC
 Suite 200
                                                                                                            Line 2. 8
 401 North Hudson
 Oklahoma City, OK 73102-0000



                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                    page          9 of 10
             Case 24-80487               Doc 25         Filed 07/05/24 Entered 07/05/24 16:14:17                                Desc Main
                                                        Document      Page 21 of 105
Debtor      Bacone College                                                      Case number (if known) 24-80487
         Name




 Name and address                                                                              On which line in Part 1   Last 4 digits of
                                                                                               did you enter the         account number
                                                                                               related creditor?         for this entity



                                                                                              Line 2.




Form 206D                    Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                   page 10 of 10


             Case 24-80487      Doc 25        Filed 07/05/24 Entered 07/05/24 16:14:17                            Desc Main
                                              Document      Page 22 of 105
 Fill in this information to identify the case:

 Debtor name                               Bacone College

 United States Bankruptcy Court for the:
                           Eastern District of Oklahoma

 Case number (if known):               24-80487                                                                                    ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      $57,714.10                    $57,714.10
                                                           Check all that apply.
                                                           ❑ Contingent
       Internal Revenue Service
       55 N Robinson Ave                                   ❑ Unliquidated
       Oklahoma City, OK 73102-9226                        ❑ Disputed
       Date or dates debt was incurred                     Basis for the Claim:

       03/14/2023

       Last 4 digits of account                            Is the claim subject to offset?
       number 2 3 1 1                                      ✔ No
                                                           ❑
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      unknown                       unknown
                                                           Check all that apply.
                                                           ❑ Contingent
       Oklahoma Tax Commission
       2501 N Lincoln Blvd                                 ✔ Unliquidated
                                                           ❑
       Oklahoma City, OK 73105-4508                        ❑ Disputed
       Date or dates debt was incurred                     Basis for the Claim:



                                                           Is the claim subject to offset?
                                                           ✔ No
       Last 4 digits of account
                                                           ❑
                                                           ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




                   Case 24-80487
Official Form 206E/F
                                                  Doc 25 Schedule
                                                            FiledE/F:
                                                                  07/05/24        Entered 07/05/24 16:14:17
                                                                      Creditors Who Have Unsecured Claims
                                                                                                                                    Desc Main          page 1 of 27
                                                            Document           Page 23 of 105
Debtor        Bacone College                                                                                  Case number (if known)             24-80487
             Name

Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $2,266.62
                                                                            Check all that apply.
                                                                            ❑ Contingent
       A-1 Auto Repair

       c/o E Brewer, Sr                                                     ❑ Unliquidated
                                                                            ❑ Disputed
       110 Douglas St
                                                                            Basis for the claim: Vendor
       Muskogee, OK 74401-4165
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred         2/23/2023                    ❑ Yes
       Last 4 digits of account number         6   9   4   9

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $3,480.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       AAdvantage Laundry Systems

       7626 E 46th Pl                                                       ❑ Unliquidated
       Tulsa, OK 74145-6308
                                                                            ❑ Disputed
                                                                            Basis for the claim: None

                                               12/01/2022                   Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number         1   9   2   2                ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $394.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Aceco Rentals & Sales, Inc.

       c/o David Russell                                                    ❑ Unliquidated
                                                                            ❑ Disputed
       1125 W Shawnee St
                                                                            Basis for the claim: None
       Muskogee, OK 74401-3405
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred         10/12/2022                   ❑ Yes
       Last 4 digits of account number         8   0   3   7

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,386.90
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       ACME-Reese Air Conditioning

       304 Callahan St                                                      ❑ Unliquidated
       Muskogee, OK 74403-5128
                                                                            ❑ Disputed
                                                                            Basis for the claim: None

                                               2/28/2023                    Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number         8   0   6   6                ❑ Yes




                  Case 24-80487
Official Form 206E/F                           Doc 25 Schedule
                                                         FiledE/F:
                                                               07/05/24        Entered
                                                                   Creditors Who          07/05/24
                                                                                 Have Unsecured Claims 16:14:17                     Desc Main          page 2 of 27
                                                         Document           Page 24 of 105
Debtor      Bacone College                                                                         Case number (if known)            24-80487
           Name




Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:              $1,400.00
                                                                 Check all that apply.
                                                                 ❑ Contingent
      AlumniSync

      Po Box 2309                                                ❑ Unliquidated
      Mt Pleasant, SC 29465-2309
                                                                 ❑ Disputed
                                                                 Basis for the claim: None

                                           03/09/2022            Is the claim subject to offset?
                                                                 ✔ No
      Date or dates debt was incurred
                                                                 ❑
      Last 4 digits of account number                            ❑ Yes
3.6 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:              $1,500.00
                                                                 Check all that apply.
                                                                 ❑ Contingent
      Amanda Seney

      6005 Nw 54th St                                            ❑ Unliquidated
      Oklahoma City, OK 73122-6003
                                                                 ❑ Disputed
                                                                 Basis for the claim: None

                                           02/27/2023            Is the claim subject to offset?
                                                                 ✔ No
      Date or dates debt was incurred
                                                                 ❑
      Last 4 digits of account number      2   7   2    3        ❑ Yes
3.7 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:              $80.00
                                                                 Check all that apply.
                                                                 ❑ Contingent
      American Document Shredding, LLC

      c/o D Herneisen                                            ❑ Unliquidated
                                                                 ❑ Disputed
      7254 E 38th St
                                                                 Basis for the claim: None
      Tulsa, OK 74145-3230
                                                                 Is the claim subject to offset?
                                                                 ✔ No
                                                                 ❑
      Date or dates debt was incurred      11/04/2022            ❑ Yes
      Last 4 digits of account number      4   0   0    9

      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,640.00
3.8                                                              Check all that apply.
                                                                 ❑ Contingent
      Arctic Sales & Leasing

      7890 E 11th St                                             ❑ Unliquidated
      Tulsa, OK 74112-5738
                                                                 ❑ Disputed
                                                                 Basis for the claim: None

                                           11/01/2022            Is the claim subject to offset?
                                                                 ✔ No
      Date or dates debt was incurred
                                                                 ❑
      Last 4 digits of account number      1   4   6    0        ❑ Yes




                  Case 24-80487
Official Form 206E/F                       Doc 25 Schedule
                                                     FiledE/F:
                                                           07/05/24        Entered
                                                               Creditors Who          07/05/24
                                                                             Have Unsecured Claims 16:14:17             Desc Main         page 3 of 27
                                                     Document           Page 25 of 105
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3.9      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,670.29
                                                                    Check all that apply.
                                                                    ❑ Contingent
         AT&T

         819 W Shawnee Byp                                          ❑ Unliquidated
         Muskogee, OK 74401
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/13/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      6   4   2    2        ❑ Yes
3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $32,349.58
                                                                    Check all that apply.
                                                                    ❑ Contingent
         AT&T

         819 W Shawnee Byp                                          ❑ Unliquidated
         Muskogee, OK 74401
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/17/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      0   8   2    2        ❑ Yes
3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $5,094.48
                                                                    Check all that apply.
                                                                    ❑ Contingent
         AT&T

         819 W Shawnee Byp                                          ❑ Unliquidated
         Muskogee, OK 74401
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/05/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   2   5    6        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $11,145.17
3.12                                                                Check all that apply.
                                                                    ❑ Contingent
         Balackbaud

         65 Fairchild St                                            ❑ Unliquidated
         Daniel Island, SC 29492-7505
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/01/2019            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   4   5    6        ❑ Yes




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3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $2,316.09
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Beam Insurance Administrators, LLC

         10300 Greenbriar Pl                                        ❑ Unliquidated
         Oklahoma City, OK 73159-7653
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              03/15/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      2   3   0    3        ❑ Yes
3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $500.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Bethany College

         31 E Campus Dr                                             ❑ Unliquidated
         Bethany, WV 26032-3002
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/13/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   9   6    5        ❑ Yes
3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $82,300.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         BIGGSMITTY. LLC

         c/o Stephen Smitherman                                     ❑ Unliquidated
                                                                    ❑ Disputed
         7820 PEARL STREET
                                                                    Basis for the claim: None
         Wheatland, OK 73097
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      05/16/2022            ❑ Yes
         Last 4 digits of account number      7   7   1    5

         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $27,813.02
3.16                                                                Check all that apply.
                                                                    ❑ Contingent
         BSN Sports, LLC

         624 S Denver Ave Ste 300                                   ❑ Unliquidated
         Tulsa, OK 74119-1075
                                                                    ❑ Disputed
                                                                                          Muskogee County CJ
                                                                    Basis for the claim: 2023-173
         Date or dates debt was incurred      09/21/2023
                                                                    Is the claim subject to offset?
         Last 4 digits of account number      -   1   7    3        ✔ No
                                                                    ❑
                                                                    ❑ Yes




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3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,200.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         C&C Cooling

         4629 W Rogers Blvd Ste A                                   ❑ Unliquidated
         Skiatook, OK 74070-3922
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              01/10/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $25,496.16
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Cards Waste Management and Recycling

         2839 E. Township St                                        ❑ Unliquidated
                                                                    ❑ Disputed
         3739 N Steele Blvd Suite 300
                                                                    Basis for the claim: Utilities
         Fayetteville, AR 72703
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred                            ❑ Yes
         Last 4 digits of account number

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $55,184.16
                                                                    Check all that apply.
                                                                    ❑ Contingent
         City of Muskogee

         229 W Okmulgee St                                          ❑ Unliquidated
         Muskogee, OK 74401-7033
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/13/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      3   W 1      9        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $15,649.22
3.20                                                                Check all that apply.
                                                                    ❑ Contingent
         Community Care HMO, Inc

         c/o G. Gill                                                ❑ Unliquidated
                                                                    ❑ Disputed
         2 W 2nd St Ste 100
                                                                    Basis for the claim: None
         Tulsa, OK 74103-3121
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      11/01/2022            ❑ Yes
         Last 4 digits of account number




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3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $400.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Corectec

         PO Box 7275                                                ❑ Unliquidated
         Athens, GA 30604
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              01/05/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $218.88
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Discount Tires

         c/o Mike Wiseman                                           ❑ Unliquidated
                                                                    ❑ Disputed
         503 N 32nd St
                                                                    Basis for the claim: None
         Muskogee, OK 74401-2004
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      11/04/2022            ❑ Yes
         Last 4 digits of account number      4   8   1    0

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $10,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         DMI Restoration Inc.

         7122 S Sheridan Rd # 451                                   ❑ Unliquidated
         Tulsa, OK 74133-2774
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              03/16/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   6   2    3        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $84,616.76
3.24                                                                Check all that apply.
                                                                    ❑ Contingent
         Ecolab Inc.

         1833 S Morgan Rd                                           ❑ Unliquidated
         Oklahoma City, OK 73128-7004
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              03/08/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      9   4   9    0        ❑ Yes




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3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $64.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Elsevier Inc

         201 Se 2nd Ave Ste 201                                     ❑ Unliquidated
         Gainesville, FL 32601-5808
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              05/10/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   8   2    6        ❑ Yes
3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $18,282.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         eMobileCampus

         325 W Capitol Ave Ste 200                                  ❑ Unliquidated
         Little Rock, AR 72201-3552
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/01/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      2   6   6    4        ❑ Yes
3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,243.56
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Endex, Inc., of Tulsa

         c/o E. Moore                                               ❑ Unliquidated
                                                                    ❑ Disputed
         10827 E Marshall St Ste 107
                                                                    Basis for the claim: None
         Tulsa, OK 74116-5663
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      03/24/2023            ❑ Yes
         Last 4 digits of account number      1   4   7    5

         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $443,943.48
3.28                                                                Check all that apply.
                                                                    ❑ Contingent
         ERC Recovery Group

         4801 Woodway Dr Ste 420W                                   ❑ Unliquidated
         Houston, TX 77056
                                                                    ❑ Disputed
                                                                                          Accounting- ERC
                                                                    Basis for the claim: Claim Services
         Date or dates debt was incurred      12/11/2023
                                                                    Is the claim subject to offset?
         Last 4 digits of account number      n o w n               ✔ No
                                                                    ❑
                                                                    ❑ Yes




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3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $60,955.26
                                                                    Check all that apply.
                                                                    ❑ Contingent
         FA Solutions LLC

         600 1st Ave N Ste 302                                      ❑ Unliquidated
         St Petersburg, FL 33701-3609
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              08/02/2018            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      0   7   3    1        ❑ Yes
3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $24,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Federal Student Aid

         A Division of the US Dept of Education                     ❑ Unliquidated
                                                                    ❑ Disputed
         830 First Street NE
                                                                                          Higher Education
         Washington, DC 20002-8019                                  Basis for the claim: Survey Fine
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred      01/24/2024            ✔ No
                                                                    ❑
                                                                    ❑ Yes
         Last 4 digits of account number      4   7   0    0

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $73,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Firstar Bank

         510 N Main St                                              ❑ Unliquidated
         Muskogee, OK 74401-6345
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/13/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      2   7   1    8        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,250.51
3.32                                                                Check all that apply.
                                                                    ❑ Contingent
         FleetCor Technologies, Inc.

         3280 Peachtree Rd Ne Ste 2400                              ❑ Unliquidated
         Atlanta, GA 30305-2453
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/16/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   3   2    2        ❑ Yes




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3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $3,330.76
                                                                    Check all that apply.
                                                                    ❑ Contingent
         G4 SSL Bat Testing Solutions, LLC

         1947 Crestview Dr                                          ❑ Unliquidated
         Moscow, ID 83843-9657
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              02/01/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   6   2    6        ❑ Yes
3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $232.08
                                                                    Check all that apply.
                                                                    ❑ Contingent
         GE Money Bank/ Amazon

         901 Main Ave                                               ❑ Unliquidated
         Norwalk, CT 06851-1168
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/24/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      8   0   8    5        ❑ Yes
3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $2,797.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Guard Tronic

         127 South Lee                                              ❑ Unliquidated
         Fort Gibson, OK 74434
                                                                    ❑ Disputed
                                                                    Basis for the claim: Business Debt
                                                                    Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $258.61
3.36                                                                Check all that apply.
                                                                    ❑ Contingent
         Herff Jones

         P.O. Box 68501                                             ❑ Unliquidated
         Indianapolis, IN 46208-0501
                                                                    ❑ Disputed
                                                                    Basis for the claim: Business Debt
                                                                    Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes




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3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $203.02
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Huntington LLC

         c/o J. Morgan                                              ❑ Unliquidated
                                                                    ❑ Disputed
         303 Linwood Ave
                                                                    Basis for the claim: None
         Fairfield, CT 06824-4900
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      03/05/2023            ❑ Yes
         Last 4 digits of account number      2   5   4    8

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $454.20
                                                                    Check all that apply.
                                                                    ❑ Contingent
         J2 Global Canada
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
         New York, NY 10011
                                                                    Basis for the claim: None
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred      09/30/2022
                                                                    ✔ No
                                                                    ❑
         Last 4 digits of account number      6   3   4    2        ❑ Yes
3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,175.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Jason Seney

         4127 E 130th Pl N                                          ❑ Unliquidated
         Skiatook, OK 74070-3599
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/12/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   9   3    8        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $352.50
3.40                                                                Check all that apply.
                                                                    ❑ Contingent
         Johnstone Supply

         c/o A Temple                                               ❑ Unliquidated
                                                                    ❑ Disputed
         1640 E Kemper Rd
                                                                    Basis for the claim: None
         Cincinnati, OH 45246-2806
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      01/28/2022            ❑ Yes
         Last 4 digits of account number      1   4   7    x




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3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $6,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Kanati Strategies, LLC

         25981 E 161st St S                                         ❑ Unliquidated
         Coweta, OK 74429-5313
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              01/03/2020            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      0   1   3    3        ❑ Yes
3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $4,853.44
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Kone Inc.

         3701 Sw 29th St                                            ❑ Unliquidated
         Oklahoma City, OK 73119-1248
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/27/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   4   8    7        ❑ Yes
3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,270.55
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Laundauer, Inc.

         2 Science Rd                                               ❑ Unliquidated
         Glenwood, IL 60425-1531
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              06/30/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      4   7   8    3        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,087.68
3.44                                                                Check all that apply.
                                                                    ❑ Contingent
         Lexipol Services

         2611 Internet Blvd Ste 100                                 ❑ Unliquidated
         Frisco, TX 75034-9085
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/12/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   9   4    6        ❑ Yes




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3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $82,446.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Liberty Mutual Insurance

         PO Box 91013                                               ❑ Unliquidated
         Chicago, IL 60680
                                                                    ❑ Disputed
                                                                    Basis for the claim: Insurance Policy

                                              12/2021               Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      8   2   2    0        ❑ Yes
3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $5,712.74
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Locke Supply Co.

         Po Box 24980                                               ❑ Unliquidated
         Oklahoma City, OK 73124-0980
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/29/2021            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   3   9    2        ❑ Yes
3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $249.57
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Marvin's Mowers and Outdoor LLC

         c/o W Seabolt                                              ❑ Unliquidated
                                                                    ❑ Disputed
         2000 N York St
                                                                    Basis for the claim: None
         Muskogee, OK 74403-1455
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      02/28/2023            ❑ Yes
         Last 4 digits of account number      2   0   2    3

         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $960.02
3.48                                                                Check all that apply.
                                                                    ❑ Contingent
         Mayes Auto Repair

         136 Iola St                                                ❑ Unliquidated
         Muskogee, OK 74401-4457
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              08/23/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   9   0    0        ❑ Yes




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3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $57,247.27
                                                                    Check all that apply.
                                                                    ❑ Contingent
         MBS Direct LLC

         2711 W Ash St                                              ❑ Unliquidated
         Columbia, MO 65203-4613
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              06/06/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      3   6   2    5        ❑ Yes
3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $2,567.81
                                                                    Check all that apply.
                                                                    ❑ Contingent
         McIntosh Service LLC

         Po Box 472208                                              ❑ Unliquidated
         Tulsa, OK 74147-2208
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/12/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      4   7   7    8        ❑ Yes
3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $425.16
                                                                    Check all that apply.
                                                                    ❑ Contingent
         MedPro Waste Disposal

         1751 W Diehl Rd Ste 400                                    ❑ Unliquidated
         Naperville, IL 60563-4914
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/01/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      0   6   7    5        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $472.00
3.52                                                                Check all that apply.
                                                                    ❑ Contingent
         Muskogee Chamber of Commerce

         310 W Broadway St,                                         ❑ Unliquidated
         Muskogee, OK 74401
                                                                    ❑ Disputed
                                                                    Basis for the claim: Business Debt

                                              2024                  Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      n o w n               ❑ Yes




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3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $2,175.20
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Muskogee City County Enhanced 911 Trust
         Authority
                                                                    ❑ Unliquidated
         Po Box 1911                                                ❑ Disputed
         Muskogee, OK 74402-1911                                    Basis for the claim: None
                                                                    Is the claim subject to offset?
         Date or dates debt was incurred      11/01/2022            ✔ No
                                                                    ❑
                                                                    ❑ Yes
         Last 4 digits of account number

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $772.88
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Muskogee Emergency Management

         229 W Okmulgee Ave                                         ❑ Unliquidated
         Muskogee, OK 74401
                                                                    ❑ Disputed
                                                                    Basis for the claim: Utilities

                                              2024                  Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      n o w n               ❑ Yes
3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $4,570.09
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Muskogee Golf Club

         2400 N Country Club Road                                   ❑ Unliquidated
         Muskogee, OK 74403
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/04/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,787.34
3.56                                                                Check all that apply.
                                                                    ❑ Contingent
         Mutual of Omaha

         3300 Mutual of Omaha Plz                                   ❑ Unliquidated
         Omaha, NE 68175-1004
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              02/15/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      4   8   7    7        ❑ Yes




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3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $375.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         NAIA

         120 W 12th St Ste 700                                      ❑ Unliquidated
         Kansas City, MO 64105-1940
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/02/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      8   0   8    7        ❑ Yes
3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $16,548.70
                                                                    Check all that apply.
                                                                    ❑ Contingent
         National Bus Sales

         c/o A Henshaw                                              ❑ Unliquidated
                                                                    ❑ Disputed
         8649 S Regency Dr
                                                                    Basis for the claim: None
         Tulsa, OK 74131-3626
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      11/04/2022            ❑ Yes
         Last 4 digits of account number      8   1   1    3

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $5,292.88
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Oak Hall Industries

         Po Box 1078                                                ❑ Unliquidated
         Salem, VA 24153-1078
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              12/12/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   5   1    8        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $86,830.72
3.60                                                                Check all that apply.
                                                                    ❑ Contingent
         OG&E

         c/o H Sultemeier                                           ❑ Unliquidated
                                                                    ❑ Disputed
         321 N Harvey Ave Mc 1105
                                                                    Basis for the claim: None
         Oklahoma City, OK 73102-3405
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      03/23/2023            ❑ Yes
         Last 4 digits of account number




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3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $82,446.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Ohio Security Insurance Company

         175 Berkeley St                                            ❑ Unliquidated
         Boston, MA 02116-5066
                                                                    ❑ Disputed
                                                                                          Muskogee County CJ
                                                                    Basis for the claim: 2023-210
         Date or dates debt was incurred      11/02/2023
                                                                    Is the claim subject to offset?
         Last 4 digits of account number      n o n e               ✔ No
                                                                    ❑
                                                                    ❑ Yes
3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $153.85
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Oil Express

         101 E Okmulgee St                                          ❑ Unliquidated
         Muskogee, OK 74403-5452
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/04/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      8   1   1    0        ❑ Yes
3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $5,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Okie Flow Fitness

         2910 S York St                                             ❑ Unliquidated
         Muskogee, OK 74403-8881
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/16/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      4   7   9    8        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $21,586.14
3.64                                                                Check all that apply.
                                                                    ❑ Contingent
         Oklahoma Employment Security Commission

         Po Box 52003                                               ❑ Unliquidated
         Oklahoma City, OK 73152-2003
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              05/09/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes




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3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $99.50
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Oklahoma Labor Law

         409 Ne 28th St Fl 3                                        ❑ Unliquidated
         Oklahoma City, OK 73105-4215
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              05/04/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $99.50
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Oklahoma Labor Law Posters

         23855 Gosling Rd                                           ❑ Unliquidated
         Spring, TX 77389-3742
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              12/01/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   9   1    7        ❑ Yes
3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $90,884.01
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Oklahoma Natural Gas

         Po Box 401                                                 ❑ Unliquidated
         Oklahoma City, OK 73101-0401
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/13/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      9   6   0    0        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,899.92
3.68                                                                Check all that apply.
                                                                    ❑ Contingent
         OneNet

         655 Research Pkwy Ste 150                                  ❑ Unliquidated
         Oklahoma City, OK 73104-6276
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/02/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   6   0    0        ❑ Yes




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3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $92,131.65
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Optimum

         2510 Elliott St                                            ❑ Unliquidated
         Muskogee, OK 74403-3958
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/13/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      4   0   2    5        ❑ Yes
3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,145.21
                                                                    Check all that apply.
                                                                    ❑ Contingent
         O'Reilly Automotive

         1833 S Morgan Rd                                           ❑ Unliquidated
         Oklahoma City, OK 73128-7004
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              02/28/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      8   1   1    3        ❑ Yes
3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $2,019.06
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Parchment LLC

         7001 N Scottsdale Rd Suite 1050                            ❑ Unliquidated
         Paradise Valley, AZ 85253
                                                                    ❑ Disputed
                                                                    Basis for the claim: Business Debt

                                              2014                  Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      n o w n               ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $21,350.00
3.72                                                                Check all that apply.
                                                                    ❑ Contingent
         Phil Givens Co

         19918 E 766 Rd                                             ❑ Unliquidated
         Tahlequah, OK 74464-0526
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/25/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      2   8   2    3        ❑ Yes




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3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $31,350.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Phil Givens Company

         19918 E 766 Rd                                             ❑ Unliquidated
         Tahlequah, OK 74464-0526
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              02/24/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   4   8    2        ❑ Yes
3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $28,586.10
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Phillips Family Catering LLC

         17488 W 925 Rd                                             ❑ Unliquidated
         Park Hill, OK 74451
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/19/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   9   2    3        ❑ Yes
3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $13.50
                                                                    Check all that apply.
                                                                    ❑ Contingent
         PikePass Customer Service Center

         PO Box 268803                                              ❑ Unliquidated
         Oklahoma City, OK 73126-0000
                                                                    ❑ Disputed
                                                                    Basis for the claim: Business Debt

                                              2024                  Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      n o w n               ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $445,511.17
3.76                                                                Check all that apply.
                                                                    ❑ Contingent
         Pipestem Law P.C

         401 S Boston Ave Ste 2200                                  ❑ Unliquidated
         Tulsa, OK 74103-4058
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              04/24/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      4   2   4    2        ❑ Yes




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3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,114.26
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Pitney Bowes

         3001 Summer St                                             ❑ Unliquidated
         Stamford, CT 06905-4317
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/06/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      2   9   2    3        ❑ Yes
3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $126.16
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Pitney Bowes Inc.

         3001 Summer St                                             ❑ Unliquidated
         Stamford, CT 06926
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11/03/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      6   6   1    8        ❑ Yes
3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $16.50
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Posey County Treasurer

         126 E 3rd St Rm 211                                        ❑ Unliquidated
         Mount Vernon, IN 47620-1876
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              03/31/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      2   6   4    3        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $13,111.80
3.80                                                                Check all that apply.
                                                                    ❑ Contingent
         PrestoSports, LLC

         726 N Greenfield Rd                                        ❑ Unliquidated
         Gilbert, AZ 85234-5061
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              09/27/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      8   0   2    6        ❑ Yes




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3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $721.02
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Restaurant Technologies, Inc.

         2250 Pilot Knob Rd Ste 100                                 ❑ Unliquidated
         Saint Paul, MN 55120-1127
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              12/05/2021            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      5   5   8    6        ❑ Yes
3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $1,333.60
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Ricoh Ge Capital

         300 Eagleview Blvd Ste 200                                 ❑ Unliquidated
         Exton, PA 19341-1155
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/31/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      0   5   0    1        ❑ Yes
3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $535.43
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Scrip-Safe Security Products

         136 Commerce Dr                                            ❑ Unliquidated
         Loveland, OH 45140-7726
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/06/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   4   7    9        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $415.65
3.84                                                                Check all that apply.
                                                                    ❑ Contingent
         Southern Labware

         Po Box 1671                                                ❑ Unliquidated
         Cumming, GA 30028-1671
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              05/23/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   4   1    8        ❑ Yes




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3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $33,885.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Stewart 360

         1918 W 36th Ave                                            ❑ Unliquidated
         Kansas City, KS 66103-2103
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              11.01.2018            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      0   1   0    5        ❑ Yes
3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $33,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         TaskStream by Watermark

         BN: Quarry Oaks II                                         ❑ Unliquidated
                                                                    ❑ Disputed
         10900 Stonelake Blvd Ste 350
                                                                    Basis for the claim: None
         Austin, TX 78759-5795
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      11/01/2018            ❑ Yes
         Last 4 digits of account number      0   5   4    6

3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $86,631.71
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Thesis America, Inc.

         120 S Central Ave                                          ❑ Unliquidated
         Saint Louis, MO 63105-1705
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              08/23/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      7   8   9    7        ❑ Yes
         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,119.14
3.88                                                                Check all that apply.
                                                                    ❑ Contingent
         Thomas Howard

         643 North 18th St                                          ❑ Unliquidated
         Muskogee, OK 74401
                                                                    ❑ Disputed
                                                                    Basis for the claim: Business Debt
                                                                    Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes




                  Case 24-80487
Official Form 206E/F                         Doc 25 Schedule
                                                       FiledE/F:
                                                             07/05/24        Entered
                                                                 Creditors Who          07/05/24
                                                                               Have Unsecured Claims 16:14:17              Desc Main page 23 of 27
                                                       Document           Page 45 of 105
Debtor        Bacone College                                                                          Case number (if known)         24-80487
             Name




Part 2: Additional Page

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $750.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         Trajecsys Corporation

         1800 Mendon Rd Ste E-219                                   ❑ Unliquidated
         Cumberland, RI 02864-4391
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              01/05/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $170,332.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         United Keetoowah Band Corp

         18263 W Keetoowah Cir                                      ❑ Unliquidated
         Tahlequah, OK 74464-3492
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              10/25/2022            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes
3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:              $5,000.00
                                                                    Check all that apply.
                                                                    ❑ Contingent
         USDA

         109 Kerr Blvd                                              ❑ Unliquidated
                                                                    ❑ Disputed
         LeFlore County FSA
                                                                    Basis for the claim: Business Debt
         Poteau, OK 74953-0000
                                                                    Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Date or dates debt was incurred      2024                  ❑ Yes
         Last 4 digits of account number      n o w n

         Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $837.92
3.92                                                                Check all that apply.
                                                                    ❑ Contingent
         Vision Service Plan

         1106 Classen Dr Ste 205                                    ❑ Unliquidated
         Oklahoma City, OK 73103-2608
                                                                    ❑ Disputed
                                                                    Basis for the claim: None

                                              03/15/2023            Is the claim subject to offset?
                                                                    ✔ No
         Date or dates debt was incurred
                                                                    ❑
         Last 4 digits of account number      1   7   2    9        ❑ Yes




                  Case 24-80487
Official Form 206E/F                         Doc 25 Schedule
                                                       FiledE/F:
                                                             07/05/24        Entered
                                                                 Creditors Who          07/05/24
                                                                               Have Unsecured Claims 16:14:17              Desc Main page 24 of 27
                                                       Document           Page 46 of 105
Debtor        Bacone College                                                                        Case number (if known)         24-80487
             Name




Part 2: Additional Page

3.93 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:              $25,043.92
                                                                  Check all that apply.
                                                                  ❑ Contingent
         Wells Fargo Vendor Financial

         211 N Robinson Ave Ste N1600                             ❑ Unliquidated
         Oklahoma City, OK 73102-7113
                                                                  ❑ Disputed
                                                                  Basis for the claim: None

                                            05/01/2023            Is the claim subject to offset?
                                                                  ✔ No
         Date or dates debt was incurred
                                                                  ❑
         Last 4 digits of account number                          ❑ Yes
3.94 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:              $200.00
                                                                  Check all that apply.
                                                                  ❑ Contingent
         West Termite and Pest Control

         2320 W. Shawnee St.                                      ❑ Unliquidated
         Muskogee, OK 74401
                                                                  ❑ Disputed
                                                                  Basis for the claim: None

                                            10/28/2022            Is the claim subject to offset?
                                                                  ✔ No
         Date or dates debt was incurred
                                                                  ❑
         Last 4 digits of account number    8   1   0   1         ❑ Yes
3.95 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:              $1,490.00
                                                                  Check all that apply.
                                                                  ❑ Contingent
         Wright International Student Services

         6405 Metcalf Ave Ste 504                                 ❑ Unliquidated
         Mission, KS 66202-3928
                                                                  ❑ Disputed
                                                                  Basis for the claim: None

                                            03/01/2023            Is the claim subject to offset?
                                                                  ✔ No
         Date or dates debt was incurred
                                                                  ❑
         Last 4 digits of account number    6   3   7   6         ❑ Yes




                  Case 24-80487
Official Form 206E/F                       Doc 25 Schedule
                                                     FiledE/F:
                                                           07/05/24        Entered
                                                               Creditors Who          07/05/24
                                                                             Have Unsecured Claims 16:14:17              Desc Main page 25 of 27
                                                     Document           Page 47 of 105
Debtor        Bacone College                                                                                  Case number (if known)             24-80487
              Name

Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Berman & Rabin PA                                                           Line 3.61

         2575 Kelley Pointe Pkwy Suite 100                                           ❑ Not listed. Explain
         Edmond, OK 73013

 4.2     Felkner Sanders and Associates                                              Line 3.16

         3033 NW 63rd Street Suite 100E                                              ❑ Not listed. Explain
         Oklahoma City, OK 73116




                  Case 24-80487
Official Form 206E/F                            Doc 25 Schedule
                                                          FiledE/F:
                                                                07/05/24        Entered
                                                                    Creditors Who          07/05/24
                                                                                  Have Unsecured Claims 16:14:17                     Desc Main page 26 of 27
                                                          Document           Page 48 of 105
Debtor       Bacone College                                                                  Case number (if known)       24-80487
            Name

Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                             Total of claim amounts



  5a. Total claims from Part 1                                                 5a.             $57,714.10



  5b. Total claims from Part 2                                                 5b.
                                                                                      +        $2,502,228.08



  5c. Total of Parts 1 and 2                                                   5c.             $2,559,942.18
      Lines 5a + 5b = 5c.




                  Case 24-80487
Official Form 206E/F                        Doc 25 Schedule
                                                      FiledE/F:
                                                            07/05/24        Entered
                                                                Creditors Who          07/05/24
                                                                              Have Unsecured Claims 16:14:17      Desc Main page 27 of 27
                                                      Document           Page 49 of 105
 Fill in this information to identify the case:

 Debtor name                               Bacone College

 United States Bankruptcy Court for the:
                           Eastern District of Oklahoma

 Case number (if known):               24-80487               Chapter   11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Collection Services (25%                     Debt Go Collection and Recovery Services
2.1    lease is for and the nature
       of the debtor’s interest
                                             commission on collected accounts
                                                                                          PO Box Box 16657
                                             receivable)
                                                                                          Kansas City, MO 64133
                                             Contract to be ASSUMED

       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
                                             Insurance Coverage                           Lexington Insurance Company
2.2    lease is for and the nature
       of the debtor’s interest                                                           c/o Hull and Company LLC
                                             Contract to be ASSUMED
                                                                                          501 SE Frank Phillips Dr
       State the term remaining              0 months
                                                                                          Bartlesville, OK 74003
       List the contract number of
       any government contract

       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206GCase 24-80487                   Doc 25   Filed
                                                      Schedule     07/05/24
                                                               G: Executory       Entered
                                                                            Contracts         07/05/24
                                                                                      and Unexpired Leases 16:14:17               Desc Main               page 1 of 1
                                                           Document           Page 50 of 105
 Fill in this information to identify the case:

  Debtor name          Bacone College


  United States Bankruptcy Court for the:              Eastern            District of        Oklahoma
                                                                                        (State)
  Case number (If known):            24-80487                                                                                        ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑ Yes
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                             Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                             Name
                                                                                                                                      that apply:

 2.1                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code

 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code

 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code




Official Form 206H                                                 Schedule H: Codebtors                                                       page 1 of    2




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                                                              Document      Page 51 of 105
Debtor       Bacone College                                                               Case number (if known) 24-80487
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2




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                                                        Document      Page 52 of 105
 Fill in this information to identify the case:

 Debtor name                                              Bacone College

 United States Bankruptcy Court for the:
                                    Eastern District of Oklahoma

 Case number (if known):                             24-80487                            Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                       amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                  $3,775,974.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                   $2,769,534.60
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                   $6,545,508.60




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                   $2,234,582.66


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                           $57,714.10

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                            +      $2,502,228.08




 4. Total liabilities..............................................................................................................................................................................                $4,794,524.84
    Lines 2 + 3a + 3b




Official Form 206Sum      Case 24-80487                            Doc 25                Filed 07/05/24
                                                                                            Summary of Assets andEntered
                                                                                                                 Liabilities for 07/05/24
                                                                                                                                 Non-Individuals16:14:17                                              Desc Main               page 1
                                                                                         Document           Page 53 of 105
 Fill in this information to identify the case:

 Debtor name                               Bacone College

 United States Bankruptcy Court for the:
                           Eastern District of Oklahoma

 Case number (if known):               24-80487                                                                                ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                      unknown
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                                                                                                                   $0.00
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                 $3,722,497.17
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                 $5,514,665.22
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
                    Case 24-80487                  Doc 25         Filed 07/05/24 Entered 07/05/24 16:14:17                      Desc Main
                                                                  Document      Page 54 of 105
Debtor           Bacone College                                                                             Case number (if known)            24-80487
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Oklahoma Tax Commission                          04/19/2024                  $8,065.00            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        2501 N Lincoln Blvd                              05/01/2024                                       ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other Tax
                                                         05/02/2024
                                                                                                          ❑
        Oklahoma City, OK 73105-4508
        City                       State    ZIP Code

 3.2.   Internal Revenue Service                         04/27/2024                 $18,419.13            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        Po Box 7346                                      03/20/2024                                       ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other Tax
                                                         4/11/24
                                                                                                          ❑
        Philadelphia, PA 19101-7346
        City                       State    ZIP Code

 3.3.   Oklahoma Employment Security                     05/02/2024                 $10,092.64            ❑ Secured debt
        Commission                                                                                        ❑ Unsecured loan repayments
                                                                                                          ❑ Suppliers or vendors
        Creditor's name

                                                                                                          ❑ Services
        PO Box 52003
        Street
                                                                                                          ✔ Other Tax
                                                                                                          ❑

        Oklahoma City, OK 73152-2003
        City                       State    ZIP Code

 3.4.   Oklahoma Natural Gas                             04/25/2024                  $8,000.00            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        Po Box 401                                       05/06/2024                                       ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other Utilities
                                                                                                          ❑
        Oklahoma City, OK 73101-0401
        City                       State    ZIP Code

 3.5.   To be Supplemented                               04/02/2024                 $10,000.00            ❑ Secured debt
        Creditor's name                                                                                   ❑ Unsecured loan repayments
                                                                                                          ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other To Be Supplemented
                                                                                                          ❑

        City                       State    ZIP Code




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2




                        Case 24-80487         Doc 25        Filed 07/05/24 Entered 07/05/24 16:14:17                              Desc Main
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Debtor           Bacone College                                                                                   Case number (if known)              24-80487
                 Name


 3.6.   Recurring/Callback Procedures                                                       various             ❑ Secured debt
        Creditor's name                                                                                         ❑ Unsecured loan repayments
                                                                                                                ❑ Suppliers or vendors
        Street
                                                                                                                ❑ Services
                                                                                                                ✔ Other To Be Supplemented
                                                                                                                ❑

        City                        State     ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value            Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State     ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
                        Case 24-80487           Doc 25         Filed 07/05/24 Entered 07/05/24 16:14:17                                  Desc Main
                                                               Document      Page 56 of 105
Debtor           Bacone College                                                                                Case number (if known)             24-80487
                 Name

 6.1.
        Creditor's name
                                                            XXXX–
        Street




        City                        State    ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        College Tournaments                    Civil                                  Muskogee County District Court                      ❑ Pending
        Hawaii LLC v. Bacone                                                          Name
                                                                                                                                          ❑ On appeal
        College                                                                       PO Box 1350
                                                                                      Street
                                                                                                                                          ✔ Concluded
                                                                                                                                          ❑
         Case number
                                                                                      Muskogee, OK 74402-0000
        FR-2023-14                                                                    City                        State    ZIP Code

 7.2.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        Tinker Federal Credit                                                         Muskogee County District Court                      ❑ Pending
        Union v. Nichols, Bacone                                                      Name
                                                                                                                                          ❑ On appeal
        College Garnishee                                                             PO Box 1350
                                                                                      Street
                                                                                                                                          ✔ Concluded
                                                                                                                                          ❑
         Case number
                                                                                      Muskogee, OK 74402-0000
                                                                                      City                        State    ZIP Code

 7.3.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        Thesis America Inc v.                                                         Muskogee County District Court                      ❑ Pending
        Bacone College                                                                Name
                                                                                                                                          ❑ On appeal
                                                                                      PO Box 1350
                                                                                      Street
                                                                                                                                          ✔ Concluded
                                                                                                                                          ❑
         Case number

        CJ 2023-181                                                                   Muskogee, OK 74402-0000
                                                                                      City                        State    ZIP Code

 7.4.    Case title                             Nature of case                         Court or agency's name and address                  Status of case

        MHEC, LLC dba                                                                 Muskogee County District Court                      ✔ Pending
                                                                                                                                          ❑
        Midgley-Huber Energy                                                          Name
                                                                                                                                          ❑ On appeal
        Concepts
                                                                                                                                          ❑ Concluded
                                                                                      PO Box 1350
                                                                                      Street

         Case number
                                                                                      Muskogee, OK 74402-0000
        CJ 2021-229                                                                   City                        State    ZIP Code




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Debtor           Bacone College                                                                                Case number (if known)             24-80487
                 Name
 7.5.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        MHEC, LLC dba                                                                 Muskogee County District Court                      ✔ Pending
                                                                                                                                          ❑
        Midgley-Huber Energy                                                          Name
                                                                                                                                          ❑ On appeal
        Concepts vs. Bacone
                                                                                                                                          ❑ Concluded
                                                                                      PO Box 1350
        College et al                                                                 Street


         Case number                                                                  Muskogee, OK 74402-0000
                                                                                      City                          State   ZIP Code
        CJ 2023-430
 7.6.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Ohio Security Insurance                                                       Muskogee County District Court                      ❑ Pending
        Co. v. Bacone College                                                         Name
                                                                                                                                          ❑ On appeal
                                                                                      PO Box 1350
                                                                                      Street
                                                                                                                                          ✔ Concluded
                                                                                                                                          ❑
         Case number

        CJ 2023-210                                                                   Muskogee, OK 74402-0000
                                                                                      City                          State   ZIP Code

 7.7.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Five Civilized Tribe                   Declaratory Judgment                   Muskogee County District Court                      ✔ Pending
                                                                                                                                          ❑
        Museum v. LPL Financial                                                       Name
                                                                                                                                          ❑ On appeal
        LLC and Bacone College
                                                                                                                                          ❑ Concluded
                                                                                      PO Box 1350
                                                                                      Street

         Case number
                                                                                      Muskogee, OK 74402-0000
        CV 2022-203                                                                   City                          State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                         Value


        Custodian’s name
                                                          Case title                                          Court name and address
        Street
                                                                                                             Name

                                                          Case number
                                                                                                             Street
        City                        State    ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑




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Debtor            Bacone College                                                                                 Case number (if known)              24-80487
                  Name
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Brown Law Firm P.C.                                    Attorney's Fee                                            12/14/2023                  $15,000.00

          Address

         715 S Elgin Ave
         Street



         Tulsa, OK 74120-4233
         City                        State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Bacone College




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Debtor          Bacone College                                                                                  Case number (if known)             24-80487
                Name



 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value

         unknown/various                                    Several vehicles and other assets              various                                (Unknown)
                                                            "disappeared' from campus in the last 2 years.
          Address
                                                            Debtor is investigating and will update with
                                                            more information once obtained.

         Street




         City                        State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.
                                                                                                           From                       To
         Street




         City                        State    ZIP Code




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Debtor          Bacone College                                                                                   Case number (if known)              24-80487
                Name
 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                      Nature of the business operation, including type of services the          If debtor provides meals
                                                         debtor provides                                                           and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                          Location where patient records are maintained(if different from           How are records kept?
                                                         facility address). If electronic, identify any service provider.
         City                    State    ZIP Code                                                                                Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes. State the nature of the information collected and retained. Student data
         ❑
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ✔ Yes
                  ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ❑ No. Go to Part 10.
         ✔ Yes. Does the debtor serve as plan administrator?
         ❑
                ✔ No. Go to Part 10.
                ❑
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                           number                                                    closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer


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Debtor           Bacone College                                                                                   Case number (if known)              24-80487
                 Name


 18.1
                                                          XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
        Street


                                                                                        ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ❑ None
 20.1    Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

        Leslie Hannah                                    Marcus Le Clair                              Art Collection- Offsite storage for
                                                                                                                                                 ❑ No
                                                                                                                                                 ✔ Yes
                                                                                                                                                 ❑
        Name
                                                                                                      preservation and inventory
        Street


                                                          Address
        Tahlequah, OK
        City                      State   ZIP Code



 20.2    Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

        Philbrook Museum                                                                                                                         ✔ No
                                                                                                                                                 ❑
                                                                                                      Lawson Art Collection- List
                                                                                                                                                 ❑ Yes
        Name
        2727 S Rockford Road                                                                          available upon request to Debtor's
        Street                                                                                        counsel.

                                                          Address
        Tulsa, OK 74114
        City                      State   ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own




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Debtor         Bacone College                                                                                  Case number (if known)              24-80487
               Name
 21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
      leased or rented property.
      ✔ None
      ❑
         Owner’s name and address                               Location of the property                   Description of the property                  Value



      Name


      Street




      City                          State   ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                    Court or agency name and address                   Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                   Name
                                                                                                                                                     ❑ On appeal
                                                                                                                                                     ❑ Concluded
                                                   Street




                                                   City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                         Governmental unit name and address                 Environmental law, if known                 Date of notice



      Name                                         Name


      Street                                       Street




      City                  State    ZIP Code      City                        State   ZIP Code




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Debtor            Bacone College                                                                               Case number (if known)             24-80487
                  Name
 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice



         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ❑ None
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
         Bacone College Development                 nonprofit charity to benefit college                        EIN: 7 3 – 1 2 8 8 9 6 0
         Authority
         Name                                                                                                     Dates business existed
         2299 Old Bacone Rd
         Street                                                                                                 From                  To



         Muskogee, OK 74403
         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                        Dates of service

 26a.1.
                                                                                                                  From                  To
          Name


          Street




          City                                             State                 ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑




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Debtor            Bacone College                                                                              Case number (if known)          24-80487
                  Name

            Name and address                                                                                     Dates of service

 26b.1.
                                                                                                                From                   To
           Name


           Street




           City                                             State                   ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None
            Name and address                                                                                     If any books of account and records are
                                                                                                                 unavailable, explain why
 26c.1.
           Leslie Hannah, President                                                                             Debtor is attempting to find and
           Name                                                                                                 organize financial data.
           2299 Old Bacone Rd
           Street



           Muskogee, OK 74403
           City                                             State                   ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.

           Name


           Street




           City                                             State                   ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of         The dollar amount and basis (cost, market, or
                                                                                                  inventory       other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.

          Name


          Street




          City                                      State                ZIP Code


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Debtor          Bacone College                                                                                  Case number (if known)            24-80487
                Name
 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                             Address                                                        Position and nature of any           % of interest, if any
                                                                                                          interest

         Leslie Hannah                     2299 Old Bacone Rd Muskogee, OK 74403                       President,                                           0.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name                             Address                                                   Position and nature of any          Period during which
                                                                                                     interest                            position or interest was
                                                                                                                                         held

         Nicky Kay Michael,                107 S. Indiana Avenue Bryan Hall 115                     Former President,                     From 2021
         PhD                               Bloomington, IN 47405                                                                          To   2024

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                        Amount of money or description             Dates                Reason for providing
                                                                               and value of property                                           the value


 30.1.
         Name


         Street




         City                                     State        ZIP Code


          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                                   EIN:         –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ❑ No
         ✔ Yes. Identify below.
         ❑
                Name of the pension fund                                                            Employer Identification number of the pension fund

            To Be Supplemented                                                                     EIN: 0 0 – 0 0 0 0 0 0 0



 Part 14: Signature and Declaration




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Debtor      Bacone College                                                                                 Case number (if known)            24-80487
            Name


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on         07/05/2024
                     MM/ DD/ YYYY




    ✘ /s/ Josh Johns                                                   Printed name                   Josh Johns
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor          Board Member



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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                                                                                           Year  Bldg GSq                                          Basement Sq
                       BldngName                               Building       Year Built   Rehab    Feet              ExtShell        Basement         Feet               InternStruct         RoofDeck    Stories Elevators
                                                      House 7                   1965               2,447    Wooden Board and Batten   None              0        Wood Frame              Shingles-Asphalt     1        0
                                                      House 10                  1990               1,896    Brick                     None              0        Wood Frame              Shingles-Asphalt     1        0
                                                      House 12                  1990               1,896    Brick                     None              0        Wood Frame              Shingles-Asphalt     1        0
                                                      House 9                   1990               1,896    Brick                     None              0        Wood Frame              Shingles-Asphalt     1        0
                                                      House 8                   1975               1,204    Wooden Board and Batten   None              0        Wood Frame              Shingles-Asphalt     1        0
                                                      House 2                   1990                797     Brick                     None              0        Concrete Block          Shingles-Asphalt     1        0
                                                      House 5                   1975                962     Wooden Board and Batten   None              0        Wood Frame              Shingles-Asphalt     1        0
                                                      House 1                   1988               1,263    Wooden Board and Batten   Unfinished      1,263      Wood Frame              Shingles-Asphalt     1        0
2210 Faculty Row                                      House 3/4                 1985               1,477    Brick                     None              0        Concrete Block          Shingles-Asphalt     1        0
Ataloa Lodge                                          Ataloa                    1932       2000    4,600    Stone-Solid               None              0        Steel Frame             Shingles-Asphalt     2        0
Barnett Hall                                          Barnett                   1922       2001   10,800    Brick                     Unfinished      3,600      Steel Frame             up/Rubber/EPDM/TP    3        0
C.C. Harmon                                           Harmon                    1975       2014   13,550    Brick                     None              0        Concrete Block          up/Rubber/EPDM/TP    1        0
Foundry Building                                      Foundry                   1960                960     Panels-Metal              None              0        Steel Frame             Metal                1        0
Gym Annex Building & Addition                         Athletic Building         1972              10,180    Brick                     None              0        Steel Frame             Metal                2        0
Hurley House (President's Home)                       Hurley House              1963       2000    3,098    Brick-Veneer              Finished        3,098      Wood Frame              Shingles-Asphalt     1        0
Journeycake Hall                                      Journeycake               1936       2001    7,000    Stone-Solid               Unfinished      3,500      Wood Frame              Shingles-Asphalt     2        0
Kiva Lodge                                            House 13                  1990               1,897    Brick                     None              0        Wood Frame              Shingles-Asphalt     1        0
Locker room annex to Warrior Gym                      Warrior Annex             1980               1,100    Steel Frame               None              0        Steel Frame             Metal                1        0
Log Cabin                                             Log House                 1937               1,096    Wooden Board and Batten   None              0        Wood Frame              Shingles-Asphalt      1       0
Lucy Peters-Poloke                                    Lucy Peters/Poloke        1922       2000   15,620    Brick                     Unfinished      5,207      Steel Frame             Shingles-Asphalt      3       0
Maintenance Building                                  Maintenance Shop          1960       2001    3,900    Brick                     None              0        Wood Frame              up/Rubber/EPDM/TP     1       0
McCombs                                               McCombs                   1937       2000    4,690    Stone-Solid               Finished        2,345      Steel Frame             Shingles-Asphalt      2       0
McCoy Hall                                            McCoy                     1937       2000   18,000    Stone-Solid               None              0        Steel Frame             Shingles-Asphalt      3       0
Memorial Chapel                                       Chapel                    1939       1992   13,850    Stone-Solid               Finished        6,925      Wood Frame              Shingles-Asphalt      2       1
Palmer Center                                         Palmer                    1997              31,704    Brick-Veneer              None              0        Wood Frame              Metal                 2       1
Pod A                                                 Dorm A                    2001              17,008    Siding-Not Wood           None              0        Wood Frame              Shingles-Asphalt      2       0
Pod B                                                 Dorm B                    2001              17,008    Siding-Not Wood           None              0        Wood Frame              up/Rubber/EPDM/TP    2        0
Pod C                                                 Dorm C                    2001              17,008    Siding-Not Wood           None              0        Wood Frame              Shingles-Asphalt      2       0
Posey Hall                                            Posey                     1968       2000   27,000    Brick                     None              0        Steel Frame             Metal                3        0
Rennard Strickland School of Justice and Tribal Law                             1990       2014    1,896    Brick                     None              0        Wood Frame              Shingles-Asphalt      1       0
Samuel Richards Hall                                  Samuel Richards           1921       2001   39,320    Brick                     Finished        13,107     Steel Frame             up/Rubber/EPDM/TP     3       0
Wacoche Hall                                          Wacoche                   1924       2004   10,350    Brick                     Finished       10,350      Steel Frame             up/Rubber/EPDM/TP     1       0
Walter Starr                                          Walter Starr              1923       2001    9,820    Brick                     None              0        Steel Frame             up/Rubber/EPDM/TP     3       0
1 inch = 468 feet                                                                                      Created By actDataScout on 6/12/2024 12:24:52 AM                                   via DataScout OneMap
This map should be used for reference purposes only and should not be considered a legal document. While every effort has been made to ensure the accuracy of this product, the publisher accepts no
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responsibility for any errors or omissions nor for any loss or damage alleged to be suffered by anyone as a result of the publication of this map and the notations on it, or as a result of the use or misuse of the
information provided herein.
                                                                              Document      Page 69 of 105
                                                                                      1) BACONE COLLEGE
Address: 2299 OLD BACONE
Legal: T15N R19E S18 FARMLAND IN MUSKOGEE BEG 3148.82 N &; 41.25 E OF SW/C SEC 18 THENCE S82°3302E 970.36 S1°3714E 1605.41
SOUTHEASTERLY 200FT THENCE SOUTH TO NORTHERLY R.O.W. THENCE EASTERLY ALONG THE R.O.W. APPROX 500 FT TO SW/C OF
MUSKOGEE PUBLIC SCHOOL PROPERTY, THENCE N3°01'4"E 1598.50 THENCE N88°53'57"E 607.67 TO THE EAST LINE OF SW, THENCE N1590
THENCE S88°17'30"W 854.58, N67°12'25"W 2.31 N6°28'11"E 90.23 N83°12'23"W 39.39 S6°38'55"W 89.91 N82°08'38"W 172.99 S32°04'58"W 149.18 S54°
54'54"W 165.20 S31°10'51"W 176.56 N82°48'12"W 1156.80 S1°37'14"E 111.58 TO P.O.B.
Parcel: 0000-18-15N-19E-4-021-10                              RPID: 510013519                                                   Acres: 81.11




Date Created: 6/12/2024
Created By: actDataScout                                                                                                                                                                via DataScout OneMap

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responsibility for any errors or omissions nor for any loss or damage alleged to be suffered by anyone as a result of the publication of this map and the notations on it, or as a result of the use or misuse of the
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                      Property Owner                                        Property Information
                Name: BACONE COLLEGE                          Physical Address: 2299 OLD BACONE

     Mailing Address: 2299 OLD BACONE RD                           Subdivision:
                      MUSKOGEE, OK 74403-0000                       Block / Lot: N/A / N/A
                 Type: (EX) Exempt                                       S-T-R: 18-15N-19E
              Tax Dist: (32) 20A-MUSKOGEE
          Size (Acres): 81.110
      Extended Legal: T15N R19E S18 FARMLAND IN MUSKOGEE BEG 3148.82 N &; 41.25 E OF SW/C SEC 18
                      THENCE S82°3302E 970.36 S1°3714E 1605.41 SOUTHEASTERLY 200FT THENCE SOUTH TO
                      NORTHERLY R.O.W. THENCE EASTERLY ALONG THE R.O.W. APPROX 500 FT TO SW/C OF
                      MUSKOGEE PUBLIC SCHOOL PROPERTY, THENCE N3°01'4"E 1598.50 THENCE N88°53'57"E
                      607.67 TO THE EAST LINE OF SW, THENCE N1590 THENCE S88°17'30"W 854.58, N67°12'25"W
                      2.31 N6°28'11"E 90.23 N83°12'23"W 39.39 S6°38'55"W 89.91 N82°08'38"W 172.99 S32°04'58"W
                      149.18 S54°54'54"W 165.20 S31°10'51"W 176.56 N82°48'12"W 1156.80 S1°37'14"E 111.58 TO
                      P.O.B.

              Market and Assessed Values:

             Fair Cash   Taxable Fair       Full Assessed
                               Cash        (11.00% Market
                                                    Value)
    Land:    $811,100               $0                 $0
 Building:   11,389,49               0                  0
                     2
    Total:   $12,200,5              $0                 $0
                    92

                          Land:

Land Use                 Size              Units
LOT AREA                 81.11
LOT AREA
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Deed Transfers:

Date          Book       Page    Deed Type Stamps          Est. Sale    Grantor         Code        Type
7/11/1995     2334       313                  0.00         $0                           Unval.




 Building: 1
          Age/YC                  Condition                     Grade                 Stories                Effective Age
           1923                    Average                        4                      2                        100


                     Avg. Floor Area: 0                                   Common Wall: 0
                     Avg. Perimeter: 384                                Total Floor Area: 7008
                            No. Floors: 0                                   Total Height: 0
                        Avg. Floor Hgt: 0                                 Unit Multiplier: 0


                            Occupancy                             Heating/Cooling         Sprinkler
                Primary Dormitory (100%)                          Package Unit (0%)       N/A
              Secondary N/A                                       N/A                     N/A


Outbuildings and Yard Improvements:

Item                            Type                 Size/Dim           Unit Multi.       Quality             Age
Paving - Asphalt                                     0                                    G                   33
Exterior Lighting                                    0                                    A                   53
Slab Porch - Covered                                 24
Awing/Shelter/Carport                                32


 Building: 1
          Age/YC                  Condition                     Grade                 Stories                Effective Age
           1968                     Good                          3                      1                         49


                     Avg. Floor Area: 0                                   Common Wall: 0
                     Avg. Perimeter: 1566                               Total Floor Area: 25296
                            No. Floors: 0                                   Total Height: 0
                        Avg. Floor Hgt: 0                                 Unit Multiplier: 0


                            Occupancy                             Heating/Cooling         Sprinkler
                Primary Dormitory (100%)                          Package Unit (0%)       N/A
              Secondary N/A                                       N/A                     N/A




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Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Awing/Shelter/Carport                          144
Balcony - Steel/Concrete                       144
Balcony - Steel/Concrete                       144


 Building: 1
          Age/YC                 Condition                Grade                  Stories           Effective Age
           1956                   Average                   3                       1                    67


                   Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 230                            Total Floor Area: 2820
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Single-Family Reside (100%)         Electric Wall (0%)      N/A
             Secondary N/A                                  N/A                     N/A




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As of:    6/11/2024
Building: 1
         Age/YC                 Condition             Grade                  Stories            Effective Age
          1960                   Average                3                       1                     63


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 88                           Total Floor Area: 484
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Classroom (College) (100%)        Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A


Building: 2
         Age/YC                 Condition             Grade                  Stories            Effective Age
          1922                   Average                4                       1                    101


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 246                          Total Floor Area: 2069
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Classroom (College) (100%)        Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A




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As of:    6/11/2024
Building: 1
         Age/YC                 Condition             Grade                  Stories            Effective Age
          2017                   Average                3                       1                     6


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 406                          Total Floor Area: 9260
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Convention Center (100%)          Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A


Building: 2
         Age/YC                 Condition             Grade                  Stories            Effective Age
          2017                   Average                3                       1                     6


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 400                          Total Floor Area: 4800
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Convention Center (100%)          Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A



Building: 1
         Age/YC                 Condition             Grade                  Stories            Effective Age
           0                     Average                4                       2                   2023


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 382                          Total Floor Area: 7162
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Classroom (College) (100%)        Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A




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Outbuildings and Yard Improvements:

Item                      Type           Size/Dim        Unit Multi.      Quality          Age
Slab Porch - Covered                     24
Breezeway - Solid Wall                   209
Awing/Shelter/Carport                    32




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Building: 1
         Age/YC                 Condition             Grade                  Stories            Effective Age
          2000                   Average                3                       1                     23


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 632                          Total Floor Area: 9040
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Dormitory (100%)                  Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A


Building: 2
         Age/YC                 Condition             Grade                  Stories            Effective Age
          2000                   Average                3                       1                     23


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 632                          Total Floor Area: 9040
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Dormitory (100%)                  Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A


Building: 3
         Age/YC                 Condition             Grade                  Stories            Effective Age
          2000                   Average                3                       1                     23


                  Avg. Floor Area: 0                             Common Wall: 0
                  Avg. Perimeter: 632                          Total Floor Area: 9040
                          No. Floors: 0                            Total Height: 0
                      Avg. Floor Hgt: 0                          Unit Multiplier: 0


                          Occupancy                      Heating/Cooling         Sprinkler
               Primary Dormitory (100%)                  Package Unit (0%)       N/A
            Secondary N/A                                N/A                     N/A




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 Building: 1
          Age/YC                 Condition                 Grade                  Stories           Effective Age
           1950                   Average                    3                       1                    73


                     Avg. Floor Area: 0                              Common Wall: 0
                     Avg. Perimeter: 180                           Total Floor Area: 1584
                           No. Floors: 0                               Total Height: 0
                       Avg. Floor Hgt: 0                             Unit Multiplier: 0


                           Occupancy                         Heating/Cooling         Sprinkler
                  Primary Single-Family Reside (100%)        Electric Wall (0%)      N/A
             Secondary N/A                                   N/A                     N/A


 Building: 2
          Age/YC                 Condition                 Grade                  Stories           Effective Age
           1950                   Average                    3                       1                    73


                     Avg. Floor Area: 0                              Common Wall: 0
                     Avg. Perimeter: 120                           Total Floor Area: 900
                           No. Floors: 0                               Total Height: 0
                       Avg. Floor Hgt: 0                             Unit Multiplier: 0


                           Occupancy                         Heating/Cooling         Sprinkler
                  Primary Single-Family Reside (100%)        Electric Wall (0%)      N/A
             Secondary N/A                                   N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type             Size/Dim           Unit Multi.       Quality         Age
Shop Building                                   3200                                 A               124
Lean To - Attached                              1600                                 A               124
Shop Building                                   960                                  A               112
Carport - Attached                              480
Carport - Attached                              350
Patio - Covered                                 108
Patio - Covered                                 108


 Building: 1
          Age/YC                 Condition                 Grade                  Stories           Effective Age
           1922                    Fair                      3                       1                   111


                     Avg. Floor Area: 0                              Common Wall: 0
                     Avg. Perimeter: 1800                          Total Floor Area: 39800

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                          No. Floors: 0                             Total Height: 0
                      Avg. Floor Hgt: 0                           Unit Multiplier: 0


                          Occupancy                       Heating/Cooling         Sprinkler
               Primary College (Entire) (100%)            Package Unit (0%)       N/A
            Secondary N/A                                 N/A                     N/A


Building: 2
         Age/YC                 Condition              Grade                  Stories            Effective Age
          1994                   Average                 3                       1                     29


                  Avg. Floor Area: 0                              Common Wall: 0
                   Avg. Perimeter: 84                           Total Floor Area: 432
                          No. Floors: 0                             Total Height: 0
                      Avg. Floor Hgt: 0                           Unit Multiplier: 0


                          Occupancy                       Heating/Cooling         Sprinkler
               Primary Commons (College) (100%)           Package Unit (0%)       N/A
            Secondary N/A                                 N/A                     N/A


Building: 3
         Age/YC                 Condition              Grade                  Stories            Effective Age
          1994                   Average                 3                       1                     29


                  Avg. Floor Area: 0                              Common Wall: 0
                   Avg. Perimeter: 240                          Total Floor Area: 1020
                          No. Floors: 0                             Total Height: 0
                      Avg. Floor Hgt: 0                           Unit Multiplier: 0


                          Occupancy                       Heating/Cooling         Sprinkler
               Primary Commons (College) (100%)           Package Unit (0%)       N/A
            Secondary N/A                                 N/A                     N/A


Building: 4
         Age/YC                 Condition              Grade                  Stories            Effective Age
          1994                   Average                 3                       1                     29


                  Avg. Floor Area: 0                              Common Wall: 0
                   Avg. Perimeter: 88                           Total Floor Area: 240
                          No. Floors: 0                             Total Height: 0
                      Avg. Floor Hgt: 0                           Unit Multiplier: 0


                          Occupancy                       Heating/Cooling         Sprinkler

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                Primary Commons (College) (100%)            Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


 Building: 5
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1994                   Average                   3                      2                     29


                   Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 510                            Total Floor Area: 29700
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Gymnasium (College) (100%)          Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


 Building: 6
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1994                   Average                   3                      1                     29


                   Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 760                            Total Floor Area: 16200
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Gymnasium (College) (100%)          Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Slab Porch - Covered                           32


 Building: 1
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1932                   Average                   3                      1                     91


                   Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 452                            Total Floor Area: 5816
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0



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                          Occupancy                        Heating/Cooling         Sprinkler
               Primary Museums of display/exhibit (100%)   Package Unit (0%)       N/A
            Secondary N/A                                  N/A                     N/A


Building: 2
         Age/YC                 Condition             Grade                    Stories            Effective Age
          1963                   Average                3                         1                     60


                  Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 250                           Total Floor Area: 2850
                          No. Floors: 0                              Total Height: 0
                      Avg. Floor Hgt: 0                            Unit Multiplier: 0


                          Occupancy                        Heating/Cooling         Sprinkler
               Primary Single-Family Reside (100%)         Package Unit (0%)       N/A
            Secondary N/A                                  N/A                     N/A


Building: 3
         Age/YC                 Condition             Grade                    Stories            Effective Age
          1922                   Average                3                         1                    101


                  Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 130                           Total Floor Area: 1050
                          No. Floors: 0                              Total Height: 0
                      Avg. Floor Hgt: 0                            Unit Multiplier: 0


                          Occupancy                        Heating/Cooling         Sprinkler
               Primary Guest Cottage (100%)                No HVAC (0%)            N/A
            Secondary N/A                                  N/A                     N/A


Building: 4
         Age/YC                 Condition             Grade                    Stories            Effective Age
          1936                    Good                  3                         1                     77


                  Avg. Floor Area: 0                               Common Wall: 0
                   Avg. Perimeter: 472                           Total Floor Area: 5250
                          No. Floors: 0                              Total Height: 0
                      Avg. Floor Hgt: 0                            Unit Multiplier: 0


                          Occupancy                        Heating/Cooling         Sprinkler
               Primary Lecture Hall (Colleg (100%)         Package Unit (0%)       N/A
            Secondary N/A                                  N/A                     N/A



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 Building: 5
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1936                    Good                     3                      1                     77


                    Avg. Floor Area: 0                              Common Wall: 0
                    Avg. Perimeter: 100                           Total Floor Area: 625
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Lecture Hall (Colleg (100%)         Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Garage - Attached                              600
Wood Deck - Covered                            240
Yard Shed - Wood                               216
Balcony - Wood                                 54
Slab Porch - Covered                           600


 Building: 1
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1937                   Average                   4                      2                     86


                    Avg. Floor Area: 0                              Common Wall: 0
                    Avg. Perimeter: 380                           Total Floor Area: 12000
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Dormitory (100%)                    Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Slab Porch - Covered                           320




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 Building: 1
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1975                   Average                   3                      1                     48


                    Avg. Floor Area: 0                              Common Wall: 0
                    Avg. Perimeter: 538                           Total Floor Area: 15524
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Classroom (College) (100%)          Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Slab Porch - Covered                           36
Slab Porch - Covered                           36


 Building: 1
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1937                   Average                   4                      2                     86


                    Avg. Floor Area: 0                              Common Wall: 0
                    Avg. Perimeter: 246                           Total Floor Area: 5660
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Classroom (College) (100%)          Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Slab Porch - Open                              60
Slab Porch - Open                              36




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 Building: 1
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1924                   Average                   4                      1                     99


                    Avg. Floor Area: 0                              Common Wall: 0
                    Avg. Perimeter: 359                           Total Floor Area: 5082
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Fraternal Building (100%)           Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Slab Porch - Open                              120


 Building: 1
          Age/YC                 Condition                Grade                 Stories            Effective Age
           1923                   Average                   4                      2                    100


                    Avg. Floor Area: 0                              Common Wall: 0
                    Avg. Perimeter: 315                           Total Floor Area: 7604
                           No. Floors: 0                              Total Height: 0
                       Avg. Floor Hgt: 0                            Unit Multiplier: 0


                           Occupancy                        Heating/Cooling         Sprinkler
                Primary Classroom (College) (100%)          Package Unit (0%)       N/A
             Secondary N/A                                  N/A                     N/A


Outbuildings and Yard Improvements:

Item                           Type            Size/Dim           Unit Multi.       Quality         Age
Slab Porch - Covered                           20




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Sketches




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Photos




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Map:




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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                               Eastern District of Oklahoma

In re        Bacone College

                                                                                                                          Case No.                  24-80487

Debtor                                                                                                                    Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ..............................................................................................                  Fee
                                                                                                                                                                    Application
                                                                                                                                                                    $10,041.00
        Prior to the filing of this statement I have received ...................................................................................
                                                                                                                                                                    Fee
        Balance Due .............................................................................................................................................   Application

2.                $1,738.00                 of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ❑
        ✔ Debtor                         ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ❑
        ✔ Debtor                         ❑ Other (specify)
5.      ❑ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑
        ✔ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

        includes filing fee

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
               bankruptcy;

        b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)




                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/05/2024                                               /s/ Ron Brown
                Date                                         Ron Brown
                                                             Signature of Attorney
                                                                                              Bar Number: 16352
                                                                                             Brown Law Firm PC
                                                                                                   1609 E. 4th St.
                                                                                                Tulsa, OK 74120
                                                                                           Phone: (918) 585-9500

                                                                               Brown Law Firm PC
                                                            Name of law firm




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